       Case 3:15-cr-02771-AJB               Document 106             Filed 03/02/17            PageID.807           Page 1 of 5
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                  United States District Court
                                        SOUTHERN DISTRICT OF CALIFORNIA

             UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                        V.                                           (For Offenses Committed On or After November 1, 1987)
                MICHAEL STROM (01)
                                                                        Case Number:         15CR2771-AJB-01

                                                                     Chase Scolnick FD
                                                                     Defendant’s Attorney
REGISTRATION NO.               52555298
                                                                                                                MAR 0 2 2017
□-
THE DEFENDANT:                                                                                        CLERK US DISTRICT' COURT
                                                                                                   SOUTHERN DISTRICT OF CALIFORNIA
M pleaded guilty to count(s)        One, Two and Three of the Indictment                           PV                      Jy ^   Ur.rU 1 Y


□ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                         Count
Title & Section                  Nature of Offense                                                                     Number(s)
18:1349                          Wire Fraud Conspiracy                                                                     1

18:287                            False Claim                                                                               2-3




     The defendant is sentenced as provided in pages 2 through    ___           5           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
□ Count(s)                                                    is           dismissed on the motion of the United States.

      Assessment: $300.00 - Remitted
      ($100.00 - As to each Count)


IE! Fine waived            IEI Forfeiture pursuant to order filed        2/27/2017                    , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                     February 27. 2017
                                                                     Di    Imposition of Sentence


                                                                     Eon. ANTHONY J. baT/taglia
                                                                   ^UNITED STATES DISTRICT JUDGE




                                                                                                                   15CR2771-AJB-01
     Case 3:15-cr-02771-AJB Document 106 Filed 03/02/17                           PageID.808        Page 2 of 5
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                MICHAEL STROM (01)                                                       Judgment - Page 2 of 5
CASE NUMBER:              15CR2771-AJB-01

                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 THREE (3) MONTHS, As to each Count, to run Concurrent.




       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:
 □



       The defendant is remanded to the custody of the United States Marshal.
 □
       The defendant shall surrender to the United States Marshal for this district:
 □
       □ at                                 A.M.              on
       □     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       M     on or before 04/1.0/17 @ 11:00 a.m..
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                    15CR2771-AJB-01
         Case
    AO 245B   3:15-cr-02771-AJB
            (CASD Rev. 08/13) JudgmentDocument
                                       in a Criminal106
                                                     Case Filed 03/02/17                                PageID.809             Page 3 of 5

    DEFENDANT:                    MICHAEL STROM (01)                                                                          Judgment - Page 3 of 5
    CASE NUMBER:                  15CR2771-AJB-01

                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS, As to each Count, to run Concurrent.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994'.
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drag tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
□         substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U. S.C. § 16901, et
          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
□         resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
          The defendant shall participate in an approved program for domestic violence. (Check if applicable.)
□
          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance
         with such notification requirement.



                                                                                                                                15CR2771-AJB-01
    Case
AO 245B   3:15-cr-02771-AJB
        (CASD Rev. 08/13) JudgmentDocument
                                   in a Criminal106
                                                 Case Filed 03/02/17          PageID.810       Page 4 of 5

DEFENDANT:            MICHAEL STROM (01)                                                      Judgment - Page 4 of 5
CASE NUMBER:          15CR2771-AJB-01

                                SPECIAL CONDITIONS OF SUPERVISION



   1. Reside in a Residential Reentry Center (RRC) as directed by the Bureau of Prisons for a period of SIX (6)
      MONTHS. (Punitive)

   2. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
      Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
      contraband or evidence of a violation of a condition of release; failure to submit to a search may be grounds
      for revocation; the defendant shall warn any other residents that the premises may be subject to searches
      pursuant to this condition.

   3. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.

   4. Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly
      or indirectly, including any interest obtained under any other name, or entity, including a trust, partnership
      or corporation until the fine or restitution is paid in full.

   5. Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property
      owned, directly or indirectly, including any interest held or owned under any other name, or entity,
      including a trust, partnership or corporation.

   6. Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines
      of credit without approval of the probation officer.




                                                                                                15CR2771-AJB-01
     Case 3:15-cr-02771-AJB Document 106                  Filed 03/02/17      PageID.811       Page 5 of 5
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

 DEFENDANT:            MICHAEL STROM (01)                                                    Judgment - Page 5 of 5
 CASE NUMBER:          15CR2771-AJB-01




                                           RESTITUTION

The defendant shall pay restitution in the amount of     $205,628.00         unto the United States of America.


Pay restitution in the amount of $205,628.00, jointly and severally to the U.S. Marine Corps through the Clerk,
U. S. District Court. Any sums recovered by the United States through the criminal forfeiture orders as to
either defendant will apply to this obligation.


Defense Finance and Accounting Service
Department 3300
8899 E. 56th Street
Indianapolis, IN 46249



Payment of restitution shall be forthwith. During any period of incarceration the defendant shall pay restitution
through the Inmate Financial Responsibility Program at the rate of 50% of the defendant’s income, or $25.00
per quarter, whichever is greater. The defendant shall pay the restitution during his supervised release at the
rate of $100 per month. These payment schedules do not foreclose the United States from exercising all legal
actions, remedies, and process available to it to collect the restitution judgment.


Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States
Attorney’s Office of any change in the defendant’s mailing or residence address, no later than thirty (30) days
after the change occurs.




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